 AO 440 (Rev. 01/09) Summons in a Civil Action - MIWD (Rev. 10/12)
                  Case
                  Case 1:16-cv-00437-RHB-ESC
                       1:16-cv-00437-JTN-ESC ECF
                                             ECF No.
                                                 No. 53 filed
                                                         filed 05/26/16
                                                               05/02/16 PageID.27
                                                                        PageID.24 Page
                                                                                  Page 12 of
                                                                                          of 22

                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                         Chris Johnston,
                                                                                                                   Case No. 1:16-cv-00437
                                Plaintiff,                                                                         Hon. Robert Holmes Bell
                                                                                                TO: Midland Funding, LLC
                                   v.
                                                                                           ADDRESS: R/A:CSC Lawyers Incorporating Service (Company)
         Midland Credit Management, Inc., and                                                                601 Abbot Road
                Midland Funding, LLC,                                                                        East Lansing, Michigan 48823
                            Defendants.

                                                                                                       PLAINTIFF OR PLAINTIFF’S ATTORNEY NAME AND ADDRESS
 A lawsuit has been filed against you.
                                                                                                         B. Thomas Golden
                                                                                                         Golden Law Offices, P.C.
 YOU ARE HEREBY SUMMONED and required to serve
                                                                                                         2186 West Main Street, P.O. Box 9
 upon plaintiff, an answer to the attached complaint or a motion                                         Lowell, MI 49331
 under Rule 12 of the Federal Rules of Civil Procedure within
   21        days after service of this summons on you (not                                            TRACEY CORDES, CLERK OF COURT
 counting the day you received it). If you fail to respond,
 judgment by default will be entered against you for the relief
 demanded in the complaint. You must also file your answer
 or motion with the Court.
 The Court has offices in the following locations:

    399 Federal Building, 110 Michigan St., NW, Grand Rapids, MI 49503
    P.O. Box 698, 229 Federal Building, Marquette, MI 49855
    107 Federal Building, 410 W. Michigan Ave., Kalamazoo, MI 49007
    113 Federal Building, 315 W. Allegan, Lansing, MI 48933

                                                                                                                                                                             May 02, 2016
                                                                                                         By: Deputy Clerk                                                       Date


                                                                                   PROOF OF SERVICE
 This summons for                                 Midland Funding, LLC                                                 was received by me on                                                .
                                              (name of individual and title, if any)                                                                                (date)


  I personally served the summons on the individual at
                                                                                                                              (place where served)
 on                                .
                       (date)


   I left the summons at the individual’s residence or usual place of abode with                                                                                                   , a person
                                                                                                                              (name)

 of suitable age and discretion who resides there, on                                                             , and mailed a copy to the individual’s last known address.
                                                                                           (date)


   I served the summons on                                                                                                          , who is designated by law to accept service
                                                                             (name of individual)

 of process on behalf of                                                                                                                         on                                             .
                                                                             (name of organization)                                                                 (date)


   I returned the summons unexecuted because                                                                                                                                                .
XXOther (specify)Service via certified mail on May 19, 2016, return receipt no. 7014 1820 0002 1689 9110                                                                                    .

       My fees are $                                       for travel and $                                            for services, for a total of $                                       .
 I declare under the penalty of perjury that this information is true.
                                                                                                      /s/ B. Thomas Golden
 Date:   May 26, 2016
                                                                                                                                         Server’s signature

 Additional information regarding attempted service, etc.:
                                                                                                      B. Thomas Golden, Golden Law Offices, P.C.
                                                                                                                                  Server’s printed name and title

                                                                                                      2186 W. Main St., P.O. Box 9, Lowell, MI 49331
                                                                                                                                       Server’s address
Case 1:16-cv-00437-JTN-ESC ECF No. 5 filed 05/26/16 PageID.28 Page 2 of 2
